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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION
UNITED STATES OF AMERICA §
§
§
V. § CASE NO, 1:19-CR-00121-H-BU
§
§
EMMANUEL ALEXANDER TEIJEIRO (1) §

REPORT AND RECOMMENDATION ON PLEA OF GUILTY
BEFORE UNITED STATES MAGISTRATE JUDGE

 

Defendant, EMMANUEL ALEXANDER TEIJEIRO (1), by consent and under the
authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997), appeared with counsel before the
undersigned United States magistrate judge for the purpose of entering a plea of guilty under Rule
11 of the Federal Rules of Criminal Procedure.

Defendant was placed under oath and personally examined in open court by the
undersigned concerning the subjects in Rule 11(b)(1) and the undersigned determined that
Defendant understood each subject.

Defendant pleaded guilty, under a plea bargain agreement with the government, to Count
One of the one-count Indictment charging Defendant with a violation of 18 U.S.C. §§
2252A(a)(5)(B), §§ 2252A(b)(2) Possession of Prepubescent Child Pornography. After examining
Defendant under oath, the undersigned magistrate judge finds the following:

1. Defendant, upon advice of counsel, has consented orally and in writing to enter this

guilty plea before a magistrate judge subject to final approval and sentencing by the

presiding district judge;

2. Defendant fully understands the nature of the charges, including each essential
element of the offense(s) charged, and the associated penalties;

3. Defendant fully understands the terms of the plea agreement and plea agreement
supplement;
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4. Defendant understands all constitutional and statutory rights and wishes to waive those

rights, including the right to a trial by jury and the right to appear before a United States

district judge;

5. Defendant’s plea is made freely and voluntarily;

6. Defendant is competent to enter this plea of guilty;

7. There is a factual basis for Defendant’s plea of guilty; and

8. The ends of justice are served by acceptance of Defendant’s plea of guilty.

Based on the above, I recommend that Defendant’s plea of guilty be accepted, that
Defendant be adjudged guilty, and that sentence be imposed accordingly.

Although I have conducted these proceedings and accepted Defendant’s plea of guilty, the
United States district judge has the power to review my actions and possesses final decision-
making authority in this proceeding. Thus, if Defendant has any objections to these findings or
any other action of the undersigned, he is required to make those known to the United States district
judge within fourteen (14) days of today.

The Clerk will furnish a copy of this Order to each of attorney of record.

Signed on: 12th day of October, 2021.

JOHN R. PARKER
UNITED STATES MAGISTRATE JUDGE

 
